
In re Disciplinary Counsel; Jermaine D. Williams; — Other(s); Applying For Petition for Permanent Resignation from the Practice of Law in Lieu of Discipline.
ORDER
The Office of Disciplinary Counsel (“ODC”) has filed formal charges against respondent alleging that he committed serious attorney misconduct, the most- significant of which involves commingling and conversion of client funds. In addition, the ODC is conducting an investigation into fourteen new complaints against respondent which allege similar serious misconduct. Respondent now seeks to permanently resign from the practice of law in lieu of discipline. The ODC has concurred in respondent’s petition.
Having considered the Petition for Permanent Resignation from the Practice of Law filed by Jermaine D. Williams, Louisiana Bar Roll number 25937, and the concurrence thereto filed by the ODC,
IT IS ORDERED that the request of Jermaine D. Williams for permanent resignation in lieu of discipline be and is hereby granted, pursuant to Supreme Court Rule XIX, § 20.1 and Rule 5.5 of the Rules of Professional Conduct.
IT IS FURTHER ORDERED that Jermaine D. Williams shall be permanently prohibited from practicing law in Louisiana or in any other jurisdiction in which he is admitted to the practice of law; shall be permanently prohibited from seeking readmission to the practice of law in this state or in any other jurisdiction in which he is admitted; and shall be permanently prohibited from seeking admission to the practice of law in any jurisdiction.
FOR THE COURT:
/s/ Marcus R. Clark Justice, Supreme Court of Louisiana
